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                                         Strategy for Communicating with Dongguk University

     Bates            Type     Date           Author             Recipient(s)             CC          BCC     General Subject Matter      Privileg
 Number(s)/Priv                                                                                                                             e(s)
   Document
    Number

263               E-mail     11/30/07   Susan Carney         Cry~tal Patenaude                               Strategy for communicating   A/C
                                                                                                             with Dongguk University
YALE00007076      E-mail     12/28/07   Jon Butler           Harold Rose          Helaine Klasky             Strategy for communicating   A/C
                                                                                                             with Dongguk University
                                                                                  Tom Conroy

                                                                                  Dorothy Robinson
                                                                                  Gila Reinstein

                                                                                  Susan Carney
262               E-mail     12/28/07   Susan Carney         Richard Levin                                   Strategy for communicating   A/C
                                                                                                             with Dongguk University
                                                             Dorothy Robinson
                                                             Torn Conroy

                                                             Linda Latimer

YALE00006878      E-mail     12/31/07   Jon Butler           Linda Lorimer        Susan Carney               Strategy for communicating   A/C
                                                                                                             with Dongguk University
                                                                                  Richard Levin

                                                                                  Dorothy Robinson

                                                                                  Helaine Klasky

                                                                                  Donald Filer

                                                                                  George Joseph

                                                                                               PLAINTIFF’S
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    Bates             Type     Date           Author        Recipient(s)            CC         BCC    General Subject Matter      Privileg
 Number(s)/Priv                                                                                                                     e(s)
   Document
   Number

YALE00006878r     E-mail     12/31/07   Linda Lorimer    Susan Carney       Donald Filer             Strategy for communicating   A/C
79                                                                                                   with Dongguk University
                                                         Richard Levin      George Joseph
                                                         Dorothy Robinson

                                                         Helaine Klasky
                                                         Jon Butler

YALE00006879-     E-mail     12/31/07   Susan Camay      Jon Butler                                  Strategy for communicating   A/C
80                                                                                                   with Dongguk University
                                                         Richard Levin

                                                         Helaine Klasky
                                                         Linda Lorimer

                                                         Dorothy Robinson

YALE00007027      E-mail     I/1/08     Helaine Klasky   Jon Butler         Susan Carney             Strategy for communicating   A/C
                                                                                                     with Dongguk University
                                                         Linda Lorimer      Richard Levin

                                                                            Dorothy Robinson

                                                                            Helaine Klasky

                                                                            Donald Flier

                                                                            George Joseph

280               E-mail     1/1/08     Jon Butler       Susan Carney                                Strategy for communicating A/C
                                                                                                     with Dongguk University
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    Bates            Type      Date           Author             Recipient(s)              CC             BCC    General Subject Matter      Privileg
Number(s)/Priv                                                                                                                                 e(s)
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   Number

YALE00007723     E-mail     1 / 17/08   Pamela Schirmelster   Susan Carney                                      Strategy for communicating   A/C
                                                                                                                with Dongguk University

YALE00007719     E-mail     1/17/08     Pamela Schirmelster   Susan Carney                                      Strategy for communicating   A/C
                                                                                                                with Dongguk University
YALE00007719     E-mail     I / 17/08   Susan Carney          Pamela Schirmelster                               Strategy for communicating   A/C
                                                                                                                with Dongguk University

YALE00007726     E-mail     1117/08     Pamela Schirmelster   Susan Carney                                      Strategy for communicating   A/C
                                                                                                                with Dongguk University

YALE00007726     E-mail     1/17/08     Susan Carney          Pamela Schirmelster                               Strategy for communicating   A/C
                                                                                                                with Dongguk University

YALE00007726     E-mail     1/17/08     Pamela Schirmelster   Susan Carney                                      Strategy for communicating   A/C
                                                                                                                with Dongguk University

YALE00007726     E-mail     1/17/08     Susan Carney          Pamela Schirmelster                               Strategy for communicating   A/C
                                                                                                                with Dongguk University

176              E-mail     1/17/08     Susan Carney          Edward Bamaby         Pamela Schirmeister         Strategy for communicating   A/C
                                                                                                                with Dongguk University

300              E-mail     !/17/08     Susan Carney          Pain                                              Strategy for communicating   A/C
                                                                                                                with Dongguk University
                                                              Schirmeister

275              E-mail     1/18/08     Susan Carney          Pam                                               Strategy for communicating   A/C
                                                                                                                with Dongguk University
                                                              Schirmeister

276              E-mail     1/18/08     Sawn Carney           Pam                                               Strategy for communicating   A/C
                                                                                                                with Dongguk University
                                                              Schirmeister
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     Bates           Type      Date           Author             Recipient(s)                             BCC    General Subject Matter      Privileg
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   Document
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YALE00007905-     E-mail     1’/25/08   Susan Carney          Pamela Schirmelster Gila Reinstein                Strategy for communicating   A/C
06                                                                                                              with Dongguk University
                                                              Edward Barnaby
                                                              Nina Glickson
182               E-mail     1/25/08    Pamela Schirmeister   Susan Carney          Gila Reinstein              Strategy for communicating   A/C
                                                                                                                with Dongguk University
                                                              Pamela Schirmeister

                                                              Edward Barnaby
                                                              Nina Glickson

196               E-mail     1/25/08    Edward Barnaby        Susan Carney          Pamela Schirmeister         Strategy for communicating   A/C
                                                                                                                with Dongguk University
194               E-mail     1/25/08    Susan Carney          Pamela Schirmeister                               Strategy for communicating   A/C
                                                                                                                with Dongguk University
                                                              Edward Barnaby

                                                              Nina Glickson


197               E-mail     1/25/08    Pamela Schirmeister   Susan Carney                                      Strategy for communicating   A/C
                                                                                                                with Dongguk University
199               E-mail     I/25/08    Susan Carney          Pamela Schirmeister Gila Reinstein                Strategy for communicating   A/C
                                                                                                                with Dongguk University
                                                              Edward Barnaby
                                                              Nina Glickson

223               E-mail     1/25/08    Nina Glickson         Susan Carney                                      Strategy for communicating   A/C
                                                                                                                with Dongguk University
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     Bates           Type      Date          Author             Recipient(s)                             BCC    General Subject Matter      PrivilegI
 Number(s)/Priv                                                                                                                              e(s)
   Document
    Number
227               E-mail    1/25/08    Nina Glickson         Susan Carney                                      Strategy for communicating   A/C
                                                                                                               with Dongguk University
200               E-mail     1/28208   Susan Carney          Pamela Schirmeister                               Strategy for communicating   A/C
                                                                                                               with Dongguk University
201               E-mail     1/28/08   Pamela Schirmeister   Susan Carney                                      Strategy for communicating   A/C
                                                                                                               with Dongguk t University
202               E-mail     1/28/08   Pamela Schirmeister   Susan Carney                                      Strategy for communicating   A/C
                                                                                                               with Dongguk University
183               E-mail     1/29/08   Susan Carney                                Edward                      Strategy for communicating   A/C
                                                                                                               with Dongguk University
                                                                                   Barnaby

204               E-mail     1/29/08   Pamela                Susan Carney                                      Strategy for communicating   A/C
                                                                                                               with Dongguk University
                                       Schirmeister

205               E-mail     1/29/08   Susan Carney          Nina Glickson         Helaine Klasky              Strategy for communicating   A/C
                                                                                                               with Dongguk University
                                                             Pamela Schirmelster Gila Reinstein
                                                             Edward Barnaby

206               E-mail     1/29/08   Jon Butler            Susan Carney          Gila Reinstein              Strategy for communicating   A/C
                                                                                                               with Dongguk University
                                                                                   Pamela Schirmelster



215               E-mail     1/29/08   Susan Carney          Nina Glickson                                     Strategy for communicating   A/C
                                                                                                               with Dongguk University
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    Bates           Type      Date           Author        Recipient(s)            CC          BCC    General Subject Matter       Privileg
Number(s)/Priv                                                                                                                       e(s)
  Document
   Number

218              E-mail     1/29/08    Susan Carney     Linda Lorimer       Dorothy Robinson         Strategy for communicating    A/C
                                                                                                     with Dongguk University
                                                                            Nina Glickson
264              E-mail     1/29/08    Susan Carney     Crystal Patenaude                            Strategy for communicating    A/C
                                                                                                     with Dongguk University
214              E-mail     1/30/08    Susan Carney     Nina Glickson                                .Strategy for communicating   A/C
                                                                                                     with Dongguk University
265              E-mail     1/30/08    Susan Carney     Nina Glickson                                Strategy for communicating    A/C
                                                                                                     with Dongguk University
282                         i/31/08    Susan Carney     Jon Butler                                   Strategy for communicating    A/C
                                                                                                     with Dongguk University

283                         1/31/08    Susan Carney     Jon Butler                                   Strategy for communicating    A/C
                                                                                                     with Dongguk University
293              E-mail     I2/28/07   Helaine Klasky   Susan Carney                                 Strategy for addressing       A/C
                                                                                                     Dongguk University Issue

285              E-mail      /25/08    Susan Carney     Nina Glickson                                Strategy for communicating    A/C
                                                                                                     with Dongguk University
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                                        Yale University Privilege Log of Redacted and Withheld Documents



288               E-mail     12/2/07      Susan Carney             Nina Glickson                             Legal advice concerning            A/C
                                                                                                             correspondence w~ith
                                                                                                             Dongguk Universit7
290               E-mail     12/26/07     Helaine Klasky           Jon Butler             Richard Levin      Strategy concerning draft public   A/C
                                                                                          Dorothy Robinson   statement concerning
                                                                                          Tom Conroy         Dongguk University and Jeong
                                                                                          Linda Lorimer      Ah Shin
                                                                                          Gila Reinstein
YALE00007053      E-mail     12/27/07     Jon Butler               Dorothy Robinson                          Request for legal advice           A/C
                                                                   Helaine Klasky                            concerning Dongguk
                                                                   Richard Levin                             University and Jeong Ah Shin
YALE0000705.6     E-mail     12/27/07     Jon Butler               Helaine Klasky         Tom Conroy         Strategy for addressing            A/C
                                                                                          Gila Reinstein     Dongguk University and Jeong
                                                                                          Dorothy Robinson   Ah Shin
YALE00007057      E-mail     12/27/07     Gila Reinstein           Helaine Klasky                            Conveying legal advice             AJC
                                                                                                             concerning Dongguk
                                                                                                             University and Jeong Ah Shin
YALE00007060-61   E-mail     12/27/07     Jon Butler               Helaine Klasky         Tom Conroy         Strategy for addressing            A/C
                                                                                          Gila Reinstein     Dongguk University
                                                                                          Dorothy Robinson   and Jeong Ah Shin
YALE00007061      E-mail     12127/07     Gila Reinstein           Helaine Klasky                            Conveying legal advice             A/C
                                                                                                             concerning Dongguk
                                                                                                             University and Jeong Ah Shin
YALE00007065-66   E-mail     12127/07     Jon Butler               Helaine Klasky         Tom Conroy         Strategy for addressing
                                                                                          Gila Reinstein     Dongguk University
                                                                                          Dorothy Robinson   and Jeong Ah Shin
YALE00007066      E-mail     12/27/07     Gila Reinstein           Helaine Klasky                            Conveying legal advice
                                                                                                             concerning Dongguk
                                                                                                             University and Jeong Ah Shin
YALE00007071      E-mail     12/27/07     Jon Butler               Helaine Klasky         Torn Conroy        Strategy for addressing            A/C
                                                                                          Gila Reinstein     Dongguk University
                                                                                          Dorothy Robinson   and Jeon$ Ah Shin
YALE00007072      E-mail     12/27/07      Gila Reinstein          Helaine Klasky                            Conveying legal advice             A/C
                                                                                                             c.oncerning Dongguk
                                                                                                             University and Jeong Ah Shin
YALE00007077      E-mail     12/27/07     Jon Butter               Helaine Kla~ky         Tom Conroy         Strategy for addressing            A/C
                                                                                          Gila Reinstein     Dongguk University
                                                                                          Dorothy Robinson   and Jeong Ah Shin


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YALE00007078       E-mail     12/27/07    Gila Reinstein     Helaine Klasky                        Conveying legal advice           A/C
                                                                                                   concerning Dongguk
                                                                                                   University and Jeong Ah Shin
YALE00007090       E-mail     12/27/07    Helaine Klasky     Jon Butler                            Strategy concerning draft public A/C
                                                             Dorothy Robinson                      statement
                                                             Helaine Klasky
                                                             Richard Levin
YALEO0007090-92    E-mail     12/27/07    Jon Butler         Dorothy Robinson                      Request for legal advice        A/C
                                                             Helaine Klasky                        concerning Dongguk
                                                             Richard Levin                         University and Jeong Ah Shin
YALE00007097-99    E-mail     12127/07    lon Butler         Dorothy Robinson                      Request for legal advice        A/C
                                                             Helaine Klasky                        concerning Dongguk
                                                             Richard Levin                         University and Jeong Ah Shin
YALE00007103       E-mail     12/27/07    Helaine Klasky     Richard Levin      Tom Conroy         Strategy for addressing media   A/C
                                                                                Dorothy Robinson   attention
                                                                                Gila Reinstein     regarding Jeon~, Ah Shin
YALE00007105       E-mail     12/27/07    Gila Reinstein     Helaine Klasky                        Conveying legal advice          A/C
                                                                                                   concerning Dongguk
                                                                                                   University and Jeong Ah Shin
YALE00007110       E-mail     12/27/07    Gila Reinstein     Helaine Klasky                        Conveying legal advice          A/C
                                                                                                   concerning Dongguk
                                                                                                   University and Jeong Ah Shin
Y ALE00007116-18   E-mail     12/27/07    Jon Butler         Helaine Klasky     Tom Conroy         Strategy for addressing         A/C
                                                                                Gila Feinstein     Dongguk University
                                                                                Dorothy Robinson   and Jeong Ah Shin
YALEO0007718       E-mail     12/27/07    Gila Reinstein     Helain¢ Klasky                        Conveying legal advice          A/C
                                                                                                   concerning Dongguk
                                                                                                   University and Jeong~ Ah Shin
YALE00007123       E-mail     12/27/07    Dorothy Robinson   Jon Butler         Helaine Klasky     Strategy for addressing         A/C
                                                                                Tom Conroy         Dongguk University
                                                                                Gila Reinstein     and Jeong Ah.Shin
                                                                                Susan Carney
YALE00007123-25    E-mail     12/27/0 7   Jon Butler         Helaine Klasky     Tom Conroy         Strategy for addressing         A/C
                                                                                Gila Reinstein     Dongguk University
                                                                                Dorothy Robinson   and Jeong Ah Shin
YALE00007125       E-mail     12/27/07    Gila Reinstein     Helaine Klasky                        Conveying legal advice          A/C
                                                                                                   concerning Dongguk University
                                                                                                   and Jeong Ah Shin
YALE00007130-31    E-mail     12/27/07    Dorothy Robinson   Jon Butler         Helaine Klasky     Strategy for addressing         AJC
                                                                                Tom Conroy         Dongguk University "
                                                                                Gila Reinstein     and Jeong Ah Shin
                                                                                Susan Carney




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YALE00007131-32    E-mail    12/27/07    Jon Butler       Helaine Klasky     Tom Conroy          Strategy for addressing         A/C
                                                                             Gila Reinstein      Dongguk University
                                                                             Dorothy Robinson    and Jeon~; M Shin
YALE00007132-33    E-mail    12/27/07    Gila Reinstein   Helaine Klasky                         Conveying legal advice          A/C
                                                                                                 concerning Dongguk ¯ .
                                                                                                 University and Jeong Ah Shin
YALE00007139-40    E-mail    12/27/07    Jon Butler       Helaine Klasky     Tom Conroy          Strategy for addressing         A/C
                                                                             Gila Reinstein      Dongguk University
                                                                             Dorothy Robinson    and Jeong Ah Shin
YALE00007141       E-mail    12/2 7107   Gila Reinstein   Helaine Klasky                         Conveying legal advice          A/C
                                                                                                 concerning Dongguk
                                                                                                 University and Jeong Ah Shin
YALE00007147-49    E-mail    12/27/07    Jon Butler       Helaine Klasky     Tom Conroy          Strategy for addressing         A/C
                                                                             Gila Reinstein      Dongguk University
                                                                             Dorothy Robinson    and Jeon~ Ah Shin
YALI00007149       E-mail    12/27/07    Gila Reinstein   Helaine Klasky                         Conveying legal advice          A/C
                                                                                                 concerning Dongguk
                                                                                                 University and Jeon~ Ah Shin
YALE00007155-57    E-mail    12/27/07    Jon Butler       Helaine Klasky     Tom Conroy          Strategy for addressing         AJC
                                                                             Gila Reinstein      Dongguk University
                                                                             Dorothy Robinson    and Jeong, Ah Shin
YALE00007157       E-mail    12/27/07    Gila Reinstein   Helaine Klasky                         Conveying legal advice          A/C
                                                                                                 concerning Dongguk
                                                                                                 University and Jeon~g Ah Shin
YALE00007166-68    E-mail    12127107    Jon Butler       Helaine Klasky     Tam Conroy          Strategy for addressing         MC
                                                                             Gila Reinstein      Dongguk University
                                                                             Dorothy Robinson    and Jeonl~ Ah Shin
YALE00007168       E-mail    12/27/07    Gila Reinstein   Helaine Klasky                         Conveying legal advice          A/C
                                                                                                 concerning Dongguk
                                                                                                 University end Jeong Ah Shin
YALE00007173;75    E-mail    12/27107    Jon Butler       Dorothy Robinson                       Request for legal advice        A/C
                                                          Helaine Klasky                         concerning Dongguk
                                                          Richard Levin                          University and Jeong Ah Shin
YALE00007181-83    E-mail    12/27/07    Jon Butler       Helaine Klasky     Tom Conroy          Strategy for addressing         AiC
                                                                             Gila Reinstein      Dongguk Universivy
                                                                             Dorothy Robinson   and Jeonl~ Ah Shin
YALE00007183-84    E-mail    12/27/07    Gila Reinstein   Helaine Klasky                         Conveying legal advice          AJC
                                                                                                 concerning Dongguk
                                                                                                 University and Jeong, Ah Shin
YALE 00007225-26   E-mail    12127107    Jon Butler       Helaine Klasky     Dorothy Robinson    Strategy for addressing         A/C
                                                                             Tom Conroy          Dongguk University and Jeong
                                                                             Gila Reinstein      Ah Shin




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YALE00007226      E-mail     12/27107   Gila Reinstein   Helaine Klasky                         Conveying legal advice          AJC ’
                                                                                                concerning Dongguk University
                                                                                                and Jeong Ah Shin
YALE00007230-31   E-mail     12/27/07   Jon Butler       Helaine Klasky     Tom Conroy          Strategy for addressing media   AJC
                                                                            Gila Reinstein      attention regarding Jeong Ah
                                                                            Dorothy Robinson    Shin
YALE00007231-32   E-mail     12/27/07   Gii’aReinstein   Helaine Klasky .                       Conveying legal advice          A/C
                                                                                                concerning Dongguk University
                                                                                                and Jeon~ Ah Shin
YALE00007235-36   E-mail     12/27/07   Jon Butler       Helaine Klasky     Tom Conroy          Str.ategy for ad~lressing       MC
                                                                            Gila Reinstein      Dongguk University
                                                                            Dorothy Robinson    and Jeong Ah Shin
YALEO0007236      E-mail     12/27/07   Gila Reinstein   Helaine Klasky                         Conveying legal advice          A/C
                                                                                                concerning Dongguk
                                                                                                University and Jeon[, Ah Shin
YALEO0007240-41   E-mail     12/27/07   Jon Butler       Helaine Klasky     Town Conroy         Strategy for addressing         AJC
                                                                            Gila Reinstein      Dongguk University
                                                                            Doroth), Robinson   and Jeong Ah Shin
YALE00007242      E-mail     12/27/07   Gila Reinstein   Helaine Klasky                         Conveying legal advice          AJC
                                                                                                concerning Dongguk University
                                                                                                and Jeong Ah Shin
YALE00007247-48   E-mail     12/27/07   .Ion Butler      Helaine Kl~sky     Tom Conroy          Strategy for addressing         AJC
                                                                            Gila Rothstein      Dongguk University and Jeong
                                                                            Dorothy Robinson    Ah Shin
YALE00007249      E-mail     12127/07   Gila Reinstein   Helaine Klasky                         Conveying legal advice          A/C
                                                                                                 conceming Dongguk University
                                                                                                 and Jeon8 Ah Shin,
YALE00007254-55   E-mail     12/27/07   Jon Butler       Helaine Klasky     Tom Conroy           Strategy for addressing        A/C
                                                                            Gila Rothstein       Dongguk University and Jeong
                                                                            Dorothy Robinson     Ah Shin
                                                                            Harold Rose
YALE00007255-56   E-’mail    12/27/07   Gila Reinstein   Helaine Klasky                         Conveying legal advice         MC
                                                                                                concerning Dongguk University
                                                                                                and Jeong Ah Shin           ..
YALE00007262-63   E-mail     12/27/07   Jon Butler       Helaine Klasky     Tom Conroy          Strategy for addressing        A/C
                                                                            Gila Rothstein      Dongguk University and Jeong
                                                                            Dorothy Robinson    Ah Shin
YALE00007263      E-mail     12/27/07   Gila Reinstein   Helaine Klasky                         Conveying legal advice         A/C
                                                                                                concerning Dongguk University
                                                                                                and Jeong Ah Shin
YALE00007266-67   E-mail     12/27/07   Jon Butler       Helaine Klasky"    Tom Conroy          Strategy for addressing        MC
                                                                            Gila Rothstein      Dongguk University and Jeong
                                                                            Dorothy Robinson    Ah Shin




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YALE00007267      E-mail     2127/07    Gila Reinstein   Helaine Klasky                       Conveying legal advice.          A/C
                                                                                              concerning Dongguk University
                                                                                              and Jeon~ Ah Shin
YALE00007543-44   E-mail    12/27/07    Jon Butler       Helaine ’Klasky   Tom Conroy         Strategy for addressing          A/C
                                                                           Gila Reinstein     Dongguk University and Jeong
                                                                           Dorothy Robinson   Ah Shin
YALE00007544      E-mail    12/27/07    Helaine Klasky   Gila Reinstein                       Conveying legal advice
                                                                                              concerning Dongguk University
                                                                                              and Jeong Ah Shin
YALE00007555      E-mail    12/27/07    Helaine Klasky   Gila Reinstein                       Conveying legal advice           A/C
                                                                                              concerning Dongguk University
                                                                                              and Jeon~ Ah Shin
YALEO0007561-62   E-mail    12/27/07    Jon Butler       Helaine Klasky    Tom Conroy         Strategy for addressing          A/C
                                                                           Dorothy Robinson   Dongguk University and Jeong
                                                                           Gila Reinstein     Ah Shin
YALE00007563      E-mail    12/27/07    Gila Reinstein   Helaine Klasky                       Conveying legal advice           AJC
                                                                                              concerning Dongguk University
                                                                                              and Jeong Ah Shin
YALE00007568-70   E-mail    12/27/07    Jon Butler       Helaine Klasky    Tom Conroy         Strategy for addressing          A/C
                                                                           Gila Reinstein     Dongguk University and Jeong
                                                                           Dorothy Robinson   Ah Shin
YALE00007570      E-mail     12/27/07   Gila.Reinstein   Helaine Klasky                       Conveying legal advice           A/C
                                                                                              concerning Dongguk University
                                                                                              and Jeong Ah Shin
YALE00007576-77   E-mail     12/27/07   Jon Butler       Helaine Klas.ky   Tom Conroy         Strategy for addressing
                                                                           Gila Reinstein     Dongguk University and Jeong
                                                                           Dorothy Robinson   Ah Shin
YALEO0007577-78   E-mail     12/27/07   Gila Reinstein   Helaine Klasky                       Conveying legal advice           A/C
                                                                                              concerning Dongguk University
                                                                                              and Jeong Ah Shin
YALE00007584-86   E-mail     12/27/07   Jon Butler       Helaine Klasky    Tom Conroy         Strategy for addressing          A/C
                                                                           Gila Reinstein     Dongguk University and Jeong
                                                                           Dorothy Robinson   Ah Shin
YALE00007586      E-mail     12/27/07   Gila Reinstein   Helaine Klasky                       Conveying legal advice
                                                                                              concerning Dongguk University
                                                                                              and Jeon~, Ah Shin
YALE00007592-93   E-mail     12/27/07   Jon Butler       Helaine Klasky    Tom C~nroy          Strategy for addressing         A/C
                                                                           Gila Reinstein      Dongguk University and Jeong
                                                                           Dorothy Robinson    Ah Shin
YALE00007594      E-mail     12/27/07   Gila Reinstein   Helaine Klasky                        Conveying legal advice          A/C
                                                                                               concerning Dangguk University
                                                                                               and Jeong Ah Shin




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YALE0000760.0-01   E-mail     12/27/07    Jon Butler         Helaine Klasky     Tom Conroy         Strategy for addressing         A/C
                                                                                Gila Reinstein     Dongguk University and Jeong
                                                                                Dorothy Robinson   Ah Shin
YALE00007602-03    E-mail     12/27107    Gila Reinstein     Helaine Klasky                        Conveying legal advice          A/C
                                                                                                   concerning Dongguk University
                                                                                                   and Jeong Ah Shin
YALE00006875       E-mail     12/28/07    Susan Camey        Dorothy Robinson                      Communications with media       MC
                                                                                                   regarding Jeong
                                                                                                   Ah Shin
YALE00007059-60    E-mail     12/28/07    Jon Butler         Helaine Kl’~sky                       Request for legal advice        A/C
                                                             Tom Conroy                            concerning Dongguk
                                                             Gila Reinstein                        University and Jeong Ah Shin
                                                             Dorothy Robioson
                                                             Harold Rose
YALE00007060       E-mail     12/28/07    Maine Klasky       Jon Butler         Tom Conroy         Strategy for addressing media   A/C
                                                                                Gila Reinstein     attention
                                                                                Dorothy Robinson   regarding Jeong Ah Shin
                                                                                Harold Rose
YALE0007064        E-mail     12128107    Jon Butler         Dorothy Robinson   Helaine Klasky     Request for legal advice        A/C
                                                                                Tom Cortroy        concerning Dongguk
                                                                                Gila Reinstein     University and Jeong Ah Shin
                                                                                Harold Rose
                                                                                Susan Carney
YALE00007064       E-mail     12/28/07    Dorothy Robinson   Jon Butler         Susan Carney       Legal advice concerning         A/C
                                                             Helaine Klasky                        Dongguk University
                                                             Torn Conroy                           and Jeong Ah Shin
                                                             Gila Reinstein
                                                             Harold Rose
YALE00007064-65    E-mail     12/28/07    .Ion Butler        Helaine Klasky                        Request for legal advice        A/C
                                                             Torn Conroy                           concerning Dongguk
                                                             Gil Reinstein                         University and Jeong Ah Shin
                                                             Dorothy Robinson
                                                             Harold Rose
YALE00007065       E-mail     12/2~8/07   Helaine Klasky     .Ion Butler        Tom Conroy         Strategy for addressing         A/C
                                                                                Gila Reinstein     Dongguk University
                                                                                Dorothy Robinson   and Jeong Ah Shin
YALE00007069-70    E-mail     12/28/07    Jon Butler -       Dorothy Robinson   Helaine Klasky     Request                         A/C
                                                                                Tom Conroy         for legal advice concerning
                                                                                Gila Reinstein     Dongguk University and .Ieong
                                                                                Harold Rose        Ah Shin
                                                                                Susan Carney




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YALE00007070        E-mail     12/28107    Dorothy Robinson   Jon Butler         Susan Carney       Legal advice concerning          A/C
                                                              Helaine Klasky                        Dongguk University
                                                              Tom Conroy                            and Jeong Ah Shin
                                                              Gila Reinstein
                                                              Harold Rose
YALEO0007070        E-mail     12/28/07    J on Butler        Helaine Klasky                        Request for legal advice         AJC
                                                              Tom Conroy                            concerning Dongguk
                                                              Gila Reinstein                        University and Jeong Ah Shin
                                                              Dorothy Robinson
                                                              Harold Rose
YALE00007070        E-mail     12/28/07    Helaine Klasky     Jon Butler         Tom Conroy         Strategy for addressing media    A/C
                                                                                 Gila Reinstein     attention
                                                                                 Dorothy Robinson   regarding Jeong Ah Shin
                                                                                 Harold Rose
YALE00007075        E-mail     12/28/07    Jon Butler         Dorothy Robinson   Richard Levin      Responding to legal advice
                                                                                 Helaine Klasky     concerning
                                                                                 Linda Lorimer      Dongguk University and Jeong
                                                                                                    Ah Shin
YALE00007075        E-mail     i 2/28107   Dorothy Robinson   Richard Levin                         Conveying legal advice           A/C
                                                              Maine Klasky                          eoncert!ng Dongguk
                                                              Linda Lorimer                         Universit), and Jeon~, Ah Shin
YALE00007075        E-mail     12/28/07    Harold Rose        Dorothy Robinson                      Legal advice concerning          A/C
                                                              Susan Carney                          Dongguk University
                                                                                                    and Jeon~ Ah Shin
YALE00007076        E-mail     12128/07    Jon Butler         Harold Rose        Helaine Klasky     Strategy for com,nunicating      A/C
                                                                                 Tom Conroy         with Dongguk
                                                                                 Dorothy Robinson   University
                                                                                 Gila Reinstein
                                                                                 Susan Came),
YALE00007076        E-mail     12/28/07    Harold Rose        Helaine Klasky                        Legal advice concerning
                                                              Jon Butler                            Dongguk University and Jeong
                                                              Tom Conroy                            Ah Shin
                                                              Dorothy Robinson
                                                              Gila Reinstein
                                                              Susan Carney
’"~ALE00007076-77   E-mail     12/28!07    Helaine Klasky     Jon Butler         Tom Conroy         Strategy for addressing          AJC
                                                                                 Gila Reinstein     Dongguk University
                                                                                 Dorothy Robinson   and Jeong Ah Shin
                                                                                 Harold Rose




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YALEO0007082      E-mail    12/28/07    Jon Butler       Helaine Klasky     Richard Levin      Strategy concerning draft public    A/C
                                                                            Susan Carney       statement
                                                                            Dorothy Robinson
                                                                            Tom Conroy
                                                                            Linda Lorimer
                                                                            Gila Reinstein
YALE00007082-83   E-mail    12/28/07    Helaine Klasky   Richard Levin                         Strategy, concerning draft public   A/C
                                                         Susan Carney                          statement
                                                         Dorothy Robinson
                                                         Tom Conroy
                                                         Linda Lorimer
                                                         Jon Butler
YALE00007083-84   E-mail    12/28/07    Jon Butler       Helaine Kl~s~y     Richard Levin      Strategy concerning draft pubic     A/C
                                                                            Dorothy Robinson   statement
                                                                            Tom Conroy
                                                                            Linda Lorimer
                                                                            Olla Reinstein
                                                                            Susan Carney
YALE00007084      E-mail     2/28/07    Helaine Klasky   Jon Butler         Richard Levi       Strategy concerning draft public    A/C
                                                                            Dorothy Robinson   statement
                                                                            Tom Conroy
                                                                            Linda Lorimer
                                                                            Gila Reinstein
                                                                            Susan Carney
YALE00007084      E-mail    t 2/28/07   Jon Butler       Helaine Klasky     Richard Levin      Strategy concerning draft public    AJC
                                                                            Susan Carney       statement
                                                                            Dorothy Robinson
                                                                            Tom Conroy
                                                                            Linda Lorimer
                                                                            Gila Reinstein
YALE00007084-85   E-mail    12/28/07    Helaine Klasky   Richard Levin                         Strategy concerning draft public    A/C
                                                         Susan Came),                          statement
                                                         Dorothy Robinson
                                                         Tom Conroy
                                                         Linda Lorimer
                                                         Jon Butler
YALE00007116      E-mail    12/28/07    Helaine Klasky   Jon Butler         Tom Conroy         Strategy for addressing media       A/C
                                                                            Gila Reinstein     attention
                                                                            Dorothy Robinson   regarding Jeong Ah Shin
                                                                            Harold Rose




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YALE00007123      E-mail    12/28/07   Gila Reinstein     Dorothy Robinson   Jon Butler         Strategy for addressing media
                                                                             Helain¢ Klasky     attention
                                                                             Susan Carney       regarding Jeong Ah Shin
                                                                             Tom Conroy
                                                                             Gila Reinstein
YALE00007130      E-mail    12/28/07   Dorothy Robinson   Gila Reinstein     Jon Butler         Strategy for addressing         A/C
                                                                             Helaine Klasky     Dongguk University and Jeong
                                                                             Susan Carney       Ah Shin
                                                                             Tom Conroy
YALE00007130      E-mail    12/28/07   Gila Reinstein     Dorothy Robinson   Jon Butler         Strategy for addressing media   A/C
                                                                             Helaine Klasky     atteiation
                                                                             Susan Carney       regarding Jeong Ah Shin
                                                                             Tom Conroy
                                                                             Gila Reinstein
YALE0000713%38    E-mail    12/28107   Dorothy Robinson   Jon Butler         Susan Carney       Legal advice concerning         A/C
                                                          Helaine Klasky                        Dongguk University
                                                          Tom Conroy                            and Jeong Ah Shin
                                                          Gila Reinstein
                                                          Harold Rose
YALE00007138      E-mail    12/28/07   Jon Butler         Helaine Klasky                        Request for legal advice        A/C
                                                          Tom Conroy                            concerning Dongguk
                                                          Gila Reinstein                        University and Jeong Ah Shin
                                                          Dorothy Robinson
                                                          Harold Rose
YALE00007138-39   E-mail    12128/07   Helaine Klasky     Jon Butler         Tom Conroy         Strategy far addressing media   A/C
                                                                             Gila Reinstein     attention regarding Jeong Ah
                                                                             Dorothy Robinson   Shin
                                                                             Harold Rose
YALE00007145-46   E-mail    12/28/07   Dorothy Robinson   Jon Butler         Susan Carney       Legal advice concerning         A/C
                                                                                                Dongguk University
                                                                                                and Jeonlg Ah Shin
YALE000071’46     E-mail    12/28107   Jon Butler         Helaine Klasky                        Request for legal advice        A/C
                                                          Tom Conroy                            concerning Dongguk
                                                          Gila.Reinstein                        University and Jeong Ah Shin
                                                          Dorothy Robinson
                                                          Harold Rose
YALE00007146-47   E-mail    12/28/07   Helaine Klasky     Jon Butler         Tom Conroy         Strategy for addressing media   AJC
                                                                             Gila Reinstein     attention
                                                                             Dorothy Robinson   regarding Jeong Ah Shin
                                                                             Harold Rose




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YALE00007154       E-mail    12/28/07    Helaine Klasky     Jon Butler                             Strategy for addressing          A/C
                                                            He,laine Klasky                        Dongguk University
                                                            Tom Conroy                             and Jeong Ah Shin
                                                            Gila Reinstein
                                                            Dorothy Robinson
                                                            Harold Rose
YALE00007"154-55   E-mail    12/28/07    Jon Butler         Helaine Klasky                          Request for legal .advice       A/C
                                                            Tom Conroy                             ¯ concerning Dongguk
                                                            Gila Reinstein                          University and Jeong Ah Shirt
                                                            Dorothy Robinson
                                                            Harold Rose
YALE00007155       E-mail    12/28/07    Helaine Klasky     Jon Butler          Tom Conroy         Strategy for addressing media    A/C
                                                                                Gila Reinstein     attention
                                                                                Dorothy Robinson   regarding Jeong Ah Shin
                                                                                Harold Rose
YALE00007163       E-mail    12/28/07    Susan Carney       Jon Butler          Helaine Klasky     Correspondence with Dongguk      A/C
                                                                                                   University
YALE00007163-64    E-mail    12/28/07    Jon Butler         Dorothy Johnson     Helaine Klasky     Request for legal advice         A/C
                                                                                Tom Conroy         concerning Dongguk
                                                                                Gila Reinstein     University and Jeong Ah Shin
                                                                                Harold Rose
                                                                                Susan Carney
YALE00007164-65    E-mail    12/28/07    Dorothy Robinson   Jon Butler          Susan Carney       Legal advice concerning          AIC
                                                            Helaine Klasky                         Dongguk University
                                                            Tom Conroy                             and Jeong Ah Shin
                                                            Gila R.einstein
                                                            Harold Rose
YALE00007165       E-mail    12/2’8/07   Jon Butler         Helaine Klasky                         Request for legal advice         A/C
                                                            Tom Conroy                             concerning Dongguk
                                                            Gila Reinstein                         University and Jeong Ah Shin
                                                            Dorothy Robinson
                                                            Harold Rose
YALE00047165-66    E-mail    12/28/07    Helaine Klasky     Jon Butler          Tom Conroy         Strategy for addressing media    A/C
                                                                                Gila Reinstein     attention
                                                                                Dorothy Robinson   regarding Jeong Ah Shin
                                                                                Harold Rose
YALE00007173       E-mail    12/28/07    Helaine Klasky     .Ion Butler                            Strategy for addressing media    A/C
                                                             Dorothy Robinson                      attention
                                                            Helaine Klasky                         regarding Jeong Ah Shin
                                                             Richard Levin
YALE00007180       E-mail    12/28/07    Susan Carney       Jon Butler          Helaine Klasky     Correspondence with Dongguk      A!C
                                                                                                   University




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YALE00007181      E-mail    12/28/07   Harold Rose        Helaine Klasky                        Legal advice concerning            A/C
                                                          Jon Butler                            Dongguk University
                                                          Tom Conroy                            and Jeong Ah Shin
                                                          Dorothy Robinson
                                                          Susan Carney
                                                          Gila Keinstein
YALE00007181      E-mail    12128107   Helaine Klasky     Jon Butler         Tom Conroy         Strategy for addressing media      A/C
                                                                             Gila Reinstein     attention regarding Jeong Ah
                                                                             Dorothy Robinson   Shin
                                                                             Harold Rose
YALE00007189-90   E-mail    12/28/07   Dorothy Robinson   Richard Levin      Susan Carney       Legal advice concerning            A/C
                                                          Jon Butler                            Dongguk University
                                                          I-lelaine Klasky                      and Jeong Ah Shin
                                                          Linda Lorimer
YALE00007190      E-mail    12/28/07   Richard Levin      D6rothy Robinson                      Request for legal advice           A/C
                                                          Jon Butler                            concerning Dongguk
                                                          Helaine Klasky                        University and Jeong Ah Shin
                                                          Linda Lorimer
YALE00007190-91   E-mail    12/28/07   Richard Levin      Dorothy Robinson   Susan Carney       Request for legal advice           A/C
                                                          Jon Butler                            concerning Dongguk
                                                          Helaine Klasky                        University and Jeong Ah Shin
                                                          Linda Lorimer
YALE00007191                12/28/07   Dorothy Robinson   Richard Levin      Susan Carney       Legal advice concerning            A/C
                                                          Jon Butler                            Dongguk University
                                                          Helain.e Klasky                       and Jeong Ah Shin
                                                          Linda Lorimer
YALE00007192      E-mail    12/28/07   Richard Levin      Dorothy Robinson                      Request for legal advice           A/C
                                                          Jon Butler                            concerning Dongguk
                                                          Helaine Klasky                        University and Jeong Ah Shin
                                                          Linda Lorimer
YALE00007192      E-mail    12/28/07   Dorothy Robinson   Richard Levin                         Conveying legal advice             A/C
                                                          Helaine Klasky                        concerning Dongguk
                                                          Linda Lorimer                         University and Jeong Ah Shin
YALE00007192-94   E-mail    12/28/07   Harold Rose        Dorothy Robinson                      Legal advice concerning            A/C
                                                          Susan Carney                          Dongguk University
                                                                                                and Jeong Ah Shin
YALE00007195-96   E-mail    12/28/07   Helaine Klasky     Richard Levin                         Strategy concerning draft public   A/C
                                                          Susa~ Carney                          statement
                                                          Jon Butler
                                                          Dorothy Robinson
                                                          Tom Conroy
                                                          Linda Lorimer




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YALE00007197      E-mail    12/28/07    Susan Carney       Helaine Klasky                        Legal advice concerning            A/C
                                                           Jon Butler                            Dongguk University
                                                           Dorothy Robinson                      and Jeong Ah Shin
                                                           Tom Conro~,
YALE00007197-99   E-mail    12/28/07    Helaine Klasky     Richard Levin                         Strategy concerning draft public   A/C
                                                           Susan Carney                          statement
                                                           Jon Butler
                                                           Dorothy Robinson
                                                           Tom Conroy
                                                           Linda Lorimer
YALE00007199-     E-mail    12/28107    Helaine Klasky     Jon Butler         Richard Levin      Strategy concerning craft public
7200                                                                          Dorothy Robinson   statement
                                                                              Tom Conroy
                                                                              Linda Lorimer
                                                                              Gila Reinstein
                                                                              Susan Carney
YALE00007200-01   E-mail    12/28/07    Jon Butler         Helaine Klasky     Richard Levin      Strategy concerning draft public   A/C
                                                                              Susan Carney       statement
                                                                              Dorothy Robinson
                                                                              Tom Conroy
                                                                              Linda Lorimar
                                                                              Gila Reinstein
YALE00007201-02   E-mail    l 2/28/07   Helaine Klasky     Richard Levin                         Strategy concerning draft public   A/C
                                                           Susan Carney                          statement
                                                           Jon Butler
                                                           Dorothy Robinson
                                                           Tom Conroy
                                                           Linda Lorimer
YALE00007224      E-mail    12/28/07    Jon Butler         Dorothy Robinson   Helaine Klasky     Request for legal advice      A/C
                                                                              Tom Conroy         concerning Dongguk University
                                                                              Gila Reinstein     and Jeong Ah Slain
                                                                              Harold Rose
                                                                              Susan Carney
YALE00007224      E-mail    12/28/07    Dorothy Robinson   Jon Butler         I-telaine Klasky   Legal advice concerning            A/C
                                                                              Tom Conroy         Dongguk University and Jeong
                                                                              Gila Reinstein     Ah Shin
                                                                              Harold Rose
YALEO0007224      E-mail    12/28/07    Jon Butler         Helaine Klasky     Dorothy Robinson   Request for legal advice           A/C
                                                                              Tom Conroy         concerning Dongguk University
                                                                              Gila Reinstein     and Jeong Ah Shin
                                                                              Harold Rose
YALE00007224-25   E-mail    12/28/07    Helaine Klasky     Jon Butler         Dorothy Robinson   Strategy for addressing media      A/C
                                                                              Tom Conroy         attention regarding Jeong Ah
                                                                              Gila Reinsteir~    Shin



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YALE00007230   E-mail    12/28/07   Jon Butler         Helaine Klasky                         Request for legal advice         A/C
                                                       Tom Conroy                             concerning Dongguk University"
                                                       Gila Reinstein                         and Jeong Ah Shin
                                                       Dorothy Robinson
                                                       Harold Rose
YALE00007230   E-mail    12/28/07   Helaine Klasky     Helaine Klasky                         Strategy for addressing media    A/C
                                                       Yore Conroy                            attention regarding. Jeong Ah
                                                       Gila Reinstein                         Shin
                                                       Dorothy Robinson
                                                       Harold Rose
YALE00007235   E-mail    12/28/07   Dorothy Robinson   Jon Butler         Susan Carney        Legal advice concerning          A/C.
                                                       Helaine Klasky                         Dongguk University
                                                       Tom Conroy                             and Jeong Ah Shin
                                                       Gila Reinstein
                                                       Harold Rose
YALE00007235   E-mail    12/28/07   Jon Butler         Helaine Klasky     Tom Conroy          Request for legal advice         A/C
                                                                          Gila Reinstein      concerning Dongguk
                                                                          Dorothy Robinson    University and Jeong Ah Shin
YALE00007235   E-mail    12/28/07   Helaine Klasky     Jon Butler                             Strategy for addressing media    A/C
                                                       Helaine Klasky                         attention
                                                       Tom Conroy                             regarding Jeong Ah Shin
                                                       Gila Reinst~in
                                                       Harold Rose
YALE00007240   E-mail    12/28/07   Dorothy Robinson   Harold Rose                            Legal advice concerning          A/C
                                                       Susan Carney                           Dongguk University
                                                                                              and Jeong Ah Shin
YALE00007240   E-mail    12/28/07   Harold Rose        Helaine Klasky                         Legal advice concerning          A/C
                                                       Jon Butler                             Dongguk University
                                                       Tom C0nroy                             and Jeong Ah Shin
                                                       GilaReinstein
                                                       Dorothy Robinson
YALE00007240   E-mail    12/28/07   Helaine Klasky     Jon Butler         Tom Conroy          Strategy                         A/C
                                                                          Gila Reinstein      for addressing media attention
                                                                          Dorothy Robinson.   regarding Je0ng Ah Shin
                                                                          Harold Rose
YALE00007247   E-mail    12/28/07   Jon Butler         Harold Rose        Helaine Klasky      Strategy for communicating       A/C
                                                                          Tom Conroy          with Dongguk
                                                                          Dorothy Robinson    University
                                                                          Susan Carney
                                                                          Gila Rei.nstein




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YALE00007247      E-mail    12/28/07    Harold Rose        Helaine Klasky                        Legal advice concerning          A/C
                                                           Jon Butler                            Dongguk University
                                                           Tom Conroy                            and Jeong Ah Shin
                                                           Gila Rothstein
                                                           Dorothy Robinson
YALE00007247      E-mail    12/28/07    Helaine Klasky     Jon Butler         Tom Conroy         Strategy for addressing media    A/C
                                                                              Gila Rothstein     attention regarding Jeong Ah
                                                                              Dorothy Robinson   Shin
                                                                              Harold Rose
YALE00007254      E-mail    12/28/07    Harold Rose        Helaine Klasky                        Legal advice concerning          A/C
                                                           Jon Butler                            Dongguk University and Jeong
                                                           Tom Conroy                            Ah Shin
                                                           Dorothy Robinson
                                                           Susan Carney
                                                           Gila Rothstein
YALE00007254      E-mail    12/28/07    Helaine Klasky     Jon Butler         Tom Conroy         Strategy for addressing media    A/C
                                                                              Gila Rothstein     attention regarding Jeong Ah
                                                                              Dorothy Robinson   Shin
                                                                              Harold Rose
YALE00007261      E-mail    12128107    Jon B~Jt’ler       Helaine Klasky                        Request for legal advice         A/C
                                                           Tom Conr0y                            concerning Dongguk University
                                                           Gila Rothstein                        and Jeong Ah Shin
                                                           Dorothy Robinson
                                                           Harold Rose
YALE00007262      E-mail    12/28/07    Helaine Klasky     Jon Butler         Tom Conroy         Strategy for addressing media    A/C
                                                                              Gila Rothstein     attention regarding Jeong Ah
                                                                              Dorothy Robinson   Shin
                                                                              Harold Rose
YALE00007266      E=mail    ! 2/28/07   Helaine Klasky     Jon Butler         Tom Conroy         Strategy for addressing media    A/C
                                                                              Gila Rothstein     attention regarding Jeong Ah
                                                                              Dorothy Robinson   Shin
                                                                              Harold Rose
YALE00007549      E-mail    12/28/07    Helaine Klasky     Gila Reinstein                        Conv(~ying legal advice          A/C
                                                                                                 concerning Dongguk University.
                                                                                                 and Jeon~ Ah Shin
YALE00007554      E-mail    12/28/07    Dorothy Robinson   Jon Butler         Tom Conroy         Legal advice concerning          A/C
                                                           Helaine Klasky     Gila Reinstein     Dongguk University and Jeong
                                                                                                 Ah Shin
YALE00007554-55   E-mail    12128107    Jon Butler         Helaine Klasky     Tom Conroy         Strategy for addressing          A/C
                                                                              Gila Reinstein     Dongguk University and Jeong
                                                                              Dorothy Robinson   Ah Shin




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YALE00007561   E-mail    12/28107   Dorothy Robinson   Gila Reinstein     Jon Butler         Legal advice concerning         A/C
                                                                          Helaine Klasky     Dongguk University and Jeong
                                                                          Susan Carney       Ah Shin
                                                                          Tom Conroy
YALE0000756!   E-mail    12/2~/07   Gila Reinstein     Dorothy Robinson   Jon Butler         Strategy for addressing media   A/C
                                                                          Helaine Klasky     attention regarding Jeong Ah
                                                                          Susan Carney       Shin
                                                                          Tom Conroy
                                                                          Gila Reinstein
YALE00007561   E-mail    12/28/07   Dorothy Robinson   Jon Butler         Tom Conroy         Legal advice concerning         A/C
                                                       Helaine Klasky     Gila Reinstein     Dongguk University and Jeong
                                                       Susan Carney                          Ah Shin
YALE00007568   E-mail    12/28/07   .Ion Butler        Helaine Klasky                        Request for legal advice        A/C
                                                       Tom Conroy                            concerning Dongguk University
                                                       Gila Reinstein                        and Jeong Ah Shin
                                                       Dorothy Robinson
                                                       Harold Rose
YALE00007568   E-mail    12/28/07   Helaine Klasky     Jon Butler         Tom Conroy         Strategy for addressing media   A/C
                                                                          Gila Reinstein     attention regarding Jeong Ah
                                                                          Dorothy Robinson   Slain
                                                                          Harold Rose "
YALE00007575   E-mail    12/28/07   Dorothy Robinson   Jon Butler         Susan Carney       Legal advice concerning         A/C
                                                       Helaine Klasky                        Dongguk University and Jeong
                                                       Tom Conroy                            Ah Shin
                                                       Gila Reinstein
                                                       Harold Rose
YALE00007575   E-mail    12/28/07   Jon Butler         Helaine Kla~ky                        Request for legal advice        A/C
                                                       Tom Conroy                            concerning Dongguk University
                                                       Gila Reinstein                        and Jeong Ah Shin
                                                       Dorothy Robinson
                                                       Harold Rose
YALE00007576   E-mail    12/28/07   Helalne Klasky     Jon Butler         Tom Conroy         Strategy for addressing media   A/C
                                                                          Gila Reinstein     attention regarding Jeong Ah
                                                                          Dorothy Robinson   Shin
                                                                          Harold Rose
YALEO0007583   E-mail    12128/07   Jon Butler         Dorothy Robinson   Helaine Klasky     Request for legal advice        A/C
                                                                          Tom Conroy         concerning Dongguk University
                                                                          Gila Reinstein     and Jeong Ah Shin
                                                                          Harold Rose
                                                                          Susan Carney




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YALE00007583      E-mail       12/28107   Dorothy Robinson   Jon Bt~tler        Susan Carney        Legal advice concerning         A/C
                                                             Helaine Klasky                         Dongguk University and Jeong
                                                             Tom Conroy                             Ah Shin
                                                             Gila Reinstein
                                                             Harold Rose
YALE00007583-84   E-mail       12/28/07   Jon Butler         Helaine Klasky                         Request for legal advice        A/C
                                                             Tom Conroy                             concerning Dongguk University
                                                             Gila Reinstein                         and Jeong Ah Shin
                                                             Dorothy Robinson
                                                             Harold Rose
YALE00007584      E-mail       12/28/07   Helaine Klasky     Jon Butler         Tom Conroy          Strategy for addressing media   A/C
                                                                                Gila Reinstein      attention regarding Jeong Ah
                                                                                Dorothy Robinson    Shin
                                                                                Harold Rose
YALE00007592      E-mail       12/28107   Helaine Klasky     Jon Butler         Tom Conroy          Strategy for addressing media   A/C
                                                                                Gila Reinstein      attention regarding Jeong Ah
                                                                                Dorothy Robinson    Shin
                                                                                Harold Rose
YALE00007599      E-mail       12/28/07   Helaine Klasky     ]on Butler                             Strategy for addressing         A/C
                                                             Tom Conroy                             Dongguk University and Je0ng
                                                             Gila Reinstein                         Ah Shin
                                                             Dorothy Robinson
                                                             Harold Rose
YALE00007599-     E-mail       12128107   Jon Butler         Helaine Klasky                         Strategy for addressing
7600                                                         Tom Conroy                             Dongguk University and Jeong
                                                             Gila Reinstein                         Ah Shin
                                                             Dorothy Robinson
                                                             Harold Rose
YALE00007600      E-mail       12/28107   Helaine Klasky     Jon Butler         Tom Conmy           Strategy for addressing media   A/C
                                                                                Gila Reinstein      attention regarding Jeong Ah
                                                                                Dorothy Robinson    Shin
                                                                                Harold Rose
                  Draft        12/28/07   Susan Carney                                              Attorney notes concerning       A/C, WP
                  Memorandum                                                                        Dongguk University and
                                                                                                    Jeong Ah Shin
                  E-mail       12/28/07   Jon Butler         Helaine Klasky     Richard Levin       Conveying legal advice
                                                                                Linda Lorimer       concerning draft public
                                                                                Dorothy Robi.nson   statement
                                                                                Tom Conroy
                                                                                Gila Reinstein
                                                                                Susan Carney
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     E-mail       12/28/07   Susan Carney       Jon Butler         Tom Conr0y         Legal advice concerning draft   A/C
                                                Helaine Klasky     Gila Reinstein     public statement
                                                                   Dorothy Robinson
                                                                   Richard Levin
                                                                   Linda Lorimer
     E-mail       2/28/07    Richard            Dorothy Robinson                      Request for legal advice        A/C
                             Levin              Jon Butler                            concerning Dongguk
                                                Helaine Klasky                        University and Jeong Ah Shin
                                                Linda Lorimer
10   Draft        12/28107   ’Susan Carney                                            Attorney notes concerning       A/C, WP
     Memorandum                                                                       Dongguk University and Jeong
                                                                                      Ah Shin "
64   E-mail       12128107   Jon Butler         Dorothy Robinson   Helaine Klasky     Response to legal advice        A/C
                                                                   Susan Carney       concerning draft public
                                                                   Harold Rose        statement
                                                                   Richard Levin
                                                                   Tom Conroy
                                                                   Gila Reinstein
                                                                   Linda Lorimer
65   E-mail       12/28/07   Dorothy Robinson   Harold Rose                           Strategy for addressing         A/C
                                                                                      Dongguk University and Jeong
                                                                                      Ah Shin
66   E-mail       12/28/07   Dorothy Robinson   Jon Butler                            Legal advice concerning draft
                                                Helaine Klasky                        public statement
                                                Susa9 Carney
                                                Harold Rose
                                                Richard Levin
                                                Tom Conroy ’
                                                Gila Reinstein
                                                Linda Lorimer
67   E-mail       12/28/07   Harold Rose        Dorothy Robinson                      Response to subpoena            A/C
                                                Susan Carney                          concerning Jeong Ah Shin
68   E-mail       12/28/07   Harold Rose        Dorothy Robinson                      Legal advice concerning Jeong   AIC
                                                Susan Carney                          Ah Shin
69   E-mail       12/28/07   Susan Carney       Harold Rose                           Strategy for addressing         AIC
                                                                                      Dongguk University and Jeong
                                                                                      Ah Shin
7O   Draft        12/28/07   Susan Carney       Harold Rose                           Draft public statement          A/C, WP
     public                                                                           concerning Jeong Ah Shin and
     statement                                                                        Dongguk University
71   E-mail       12128/07   Susan Carney       Helaine Klasky     Harold Rose        Legal advice concerning Jeong   A/C
                                                Jon Butler                            Ah Shin issue
                                                Dorothy Robinson
                                                Tom Conroy



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72    E-mail       12/28/07     Harold Rose        Dorothy Robinson                        Legal advice concerning Jeong
                                                   Susan Carney                            Ah Shin issue
81    Draft        12/28/07     Susan Carney                                               Attorney notes concerning
      Memorandum                                                                           Dongguk University and
                                                                                           Jeong Ah Shin
99    Draft        12~8/07      Susan Carney       Linda Lorimer        Dorothy Robinson   Attorney notes concerning          A/C, WP
      Memorandum                                                        Harold Rose        Dongguk University and
                                                                                           Jeong Ah Shin
103   Draft        12/28/07     Susan Carney       Linda Lorimer        Dorothy Robinson   Attorney notes concerning          A/C, WP
      Memorandum                                   George Joseph        Helaine Klasky     Dongguk University and
                                                                        Gila Reinstein     Jeong Ah Shin
106   Draft        12/28/07 ¯   Susan Carney        Richard Levin                          Attgrney notes concerning          A/C, WP
      Memorandum                                    ]on Butler                             Dongguk University and
                                                    Helaine Klasky                         Jeong Ah Shin
                                                   -Li~ada Lorimer
                                                    Doroth), Robinson
114   E-mail       12/28/07     Dorothy Robinson    Susan Carney                           Strategy for addressing
                                                                                           Dongguk University and Jeong
                                                                                           Ah Shin
165   E-Mail       12/28/07     Helaine Klasky     Gila Reinstein                          Conveying request for legal        A/C
                                                   Tom Conroy                              advice concerning
                                                                                           Dongguk University and Jeong
                                                                                           Ah Shin
166   E-Mail       12/28107     Gila Reinstein     Helaine Klasky                          Conveying legal advice             bdC
                                                                                           concerning communications
                                                                                           with Dong~.uk Uaiversi~
247   E-mail       12/28/07     Susan Carney       Helaine Klasky                          Legal advice concerning            A/C
                                                                                           communications with media
248   E-mail       12/28/07     Susan Carney       Harold Rose                             Strategy for addrzssing            A/C
                                                                                           Dongguk University and Jeong
                                                                                           Ah Shin
252   E-mail       12/28/07     Jon Butler         Susan Carney                            Strategy concern.ng draft public   A/C
                                                   Helaine Klasky                          statement concerning
                                                   Richard Levin                           Jeong Ah Shin and Dongguk
                                                   Tom Conroy                              University
                                                   Gila Reinstein "
                                                   Dorothy Robinson
                                                   Linda Lorimer
257   E:mail       12/28/07     Dorothy            Susan Carney                            Strategy for addressing media      A/C
                                Robinson                                                   attention concer~.ing
                                                                                           Dongguk University and Jeong
                                                                                           Ah Shin




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260   E-mail    12/28/07    Susan Carney         Dorothy                                Strategy concerning draft public     A/C
                                                 Robinson                               statement concerning
                                                                                        Jeong Ah Shin and Dongguk
                                                                                        University
261   E-mail    12/28/07    Helaine Klasky       Richard Levin                          Strategy conceming draft public      A/C
                                                 Susan Carney                           statement concerning
                                                 Dorothy Robinson                       .leong Ah Shin and Dongguk
                                                 Tom Conroy                             University
                                                 Linda Lorimer
                                                 .Ion Butler
262   E-mail    12/28/07    Susan Carney         Richard Levin                          Strategy for communicating
                                                  Dorothy Robinson                      with Dongguk University
                                                 Torn "Conroy
                                                  Linda Latimer
273   E-mail    12/28/07    Gila Reinstein        Susan Came),       Helaine Klasky     Strategy concerning draft public     AJC
                                                                                        statement concerning
                                                                                        Ah Shin and Dongguk
                                                                                        University .leong
274   E-mail    ! 2/28/07   Helaine Klasky       Susan Carney                           Strategy for addresses media         A/C
                                                                                        attention concerning
                                                                                        Dongguk University and Jeong
                                                                                        Ah Shin
291   E-mail    12/28/07    Jon Butler           Helaine Klasky      Richard Levin      Strategy concernin.g draft public,   A/C
                                                                     Susan Carney       statement concerning
                                                                     Dorothy Robinson   Dongguk University and Jeong
                                                                     Tom Conroy         Ah Shin
                                                                     Linda Lorimer
                                                                     Gila Reinstein
292   E-mail    12/28/07    Dorothy Robinson     Susan Carney                           Strategy for addressing media        A/C
                                                                                        inquiry concerning
                                                                                        Jeong Ah Shin
293   E-mail    12/28/07    Helaine Klasky       Susan Carney                           Strategy for addressing              AJC
                                                                                        Dongguk University Issue
294   E-mail    i 2/28/07   Dorothy Robinson     Jon Butler          Susan Carney       Legal advice concerning              AJC
                                                 Helaine Klasky                         Dongguk University and
                                                 Tom Carney                             Jeong Ah Shin
                                                 Gila Reinstein
                                                 Harold Rose
295   E-mail    ! 2128/07   Dorothy              Jon Butler          Helaine Klasky     Strategy for addressing              A/C
                            Robinson         "                       Tom Conroy         Dongguk University and Jeong
                                                                     Gila Reinstein     Ah Shin
                                                                     Susan Carney




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296   E-mail    12/28/07   Richard C.         Dorothy Robinson     Susan Carney       Request for legal advice         A/C
                           Levin              Jon Butler                              concerning Dongguk
                                              Helaine Klasky                          University and Jeong Ah Shin
                                              Linda Lorimer
297   E-mail    12/28/07   Dorothy Robinson   Richard Levin        Susan Carney       Legal advice keming Dongguk      A/C
                                              Jon Butler                              University and Jeong Ah Shin
                                              Helaine Klasky
                                              Linda Lorimer
301   E-mail’   12128/07   Dorothy Robinson   Susan Carney                            Strategy for communicating       A/C
                                                                                      with Dongguk Universil~,
302   E-mail    12/28/07   Dorothy Robinson   Susan Carney                            Strategy for" communicating      A/C
                                                                                      with Donsguk University
305   E-mail    12/28/07   Susan Carney       Dorothy Robinson                        Strategy for addressing          A/C
                                                                                      Dongguk University Issue
!1    E-mail    I2/29/07   Richard            Dorothy Robinson     Helaine Klasky     Response to legal advice         A/C
                           Levin              Jon Butler           Harold Rose        concerning Dongguk
                                              Susan Carney         Tom Conroy         University. and Jeong Ah Shin
                                                                   Gila Reinstein
                                                                   Linda Lorimer
73    E-mail    12/29/07   Susan Carney       Helaine Klasky       Harold Rose        Legal advice concerning J~:ong   A/C
                                              Dorothy Robinson     Tom Conroy         Ah Shin issue
                                              Richard Levin        Gila Reinstein
                                              Jon Butler           Linda Lorimer
74    E-mail    12/29/07   Susan Carney       Helaine Klasky       Dorothy Robinson   Legal advice concerning public   A/C
                                                                   Harold Rose        statement regarding
                                                                                      Jeong Ah Shin and Dongguk
                                                                                      University
75    E-mail    12/29/07   Helaine Klasky     Dorothy Robinson     Susan Carney       Response to legal advice         A/C
                                              Richard Levin        Harold Rose        concerning public statement
                                              Jon Butler           Tom Conroy         regarding Jeong Ah Shin and
                                                                   Gila Reinstein     Dongguk University
                                                                   Linda Lorimer
76    E-mail    12/29/07   Richard Levin      Helaine Klasky       Susan Carney       Response to legal advice
                                              Dorothy Robinson     Harold Rose        concerning public statemenl
                                              Jon Butler           Tom Conroy         regarding Jeong Ah Shin and
                                                                   Gila Reinstein     Dongguk University
                                                                   Linda Lorimer
77    E-mail    12/29/07   Dorothy Robinson   Helaine Klasky ¯ -   Susan Carney       Legal advice concerning public   A/C
                                              Richard Levin        Harold Rose        statement regarding
                                              Jon Butler           Tom Conroy         Jeong Ah Shin and Dongguk
                                                                   Gila Reinstein     University
                                                                   Linda Lorimer




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78    E-mail     12/29/07   Helaine Klasky     Richard Levin      Susan Carney     Response to legal advice           A/C
                                               Jon Butler         Harold Rose      concerning public statement
                                               Dorothy Robinson   Torn Conroy      regarding Jeong Ah Shin and
                                                                  Gila Reinstein   Dongguk University
                                                                  Linda Lorimer

79    E-mail     12/29/07   Helaine Klasky     Jon Butler         Susan Carney     Request for legal advice           A/C
                                               Dorothy Robinson   Harold Rose      concerning public statement
                                                                  Richard Levin    regarding Jeong Ah Shin and
                                                                  Torn Conroy      Dongguk Universit3,
                                                                  Gila Reinstein
                                                                  Linda Lorimer
80    E-mail     12/29107   Susan Carney       Dorothy Robinson                    Strategy for addressing            A/C, WP
                                               Harold Rose                         Dongguk University and Jeong
                                                                                   Ah Shin
82    E-mail     12/29/07   Richard Levin      Helaine Ktasky     Susan Came),     Strategy concerning draft public
                                               Jon Butler         Harold Rose      statement concerning
                                               Dorothy Robinson   Torn Conroy      Jeong Ah Shin and Dongguk
                                                                  Gila Reinstein   University
                                                                  Linda Lorimer

83    E-mail     12/29/07   Dorothy Robinson   Jon Butler         Helaine Klasky   Legal advice concerning draft      A/C
                                               Susan Carney       Richard Levin    public statement
                                                                  Harold Rose      concerning Dongguk UniversiU
                                                                  Tom Conroy       and Jeong Ah Shin
                                                                  Gila Reinstein
                                                                  Linda Lorimer
105   E-mail     12/29/07   Dorothy Robinson   Richard Levin                       Legal advice concerning            A/C, WP
                                               Jon Buller                          Dongguk University and
                                               Helaine Klasky                      Jeong Ah Shin
                                               Linda Lorimer
255   E-mail     12/29107   Dorothy Robinson   Susan Carney                        Attorney notes concerning          A/C
                                                                                   Dongguk University and
                                                                                   Jeon~; Ah Shin
272   E-mail     12/29107   Dorothy Robinson   Susan Carney                        Strategy concerning draft public   A/C
                                                                                   statement concerning
                                                                                   Jeong Ah Shin and Dongguk
                                                                                   University
289   E-mail     12/29/07   Helaine            Dorothy            Susan Carney     Strategy concerning draft public   A/C
                            Klasky             Robinson                            statement concerning
                                                                                   Dongguk University and Jean
                                                                                   Ah Shin



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299               E-mail    12/29/07    Susan Carney      Helaine                               Strategy concerning craft public   MC
                                                          Klasky                                statement concerning
                                                                                                Dongguk University and Jeong
                                                                                                Ah Shin
303               E-mail    1 2/29/07   Helaine           Susan Carney                          Strategy concerning draft public   AJC
                                        Klasky                                                  statement concerning Dongguk
                                                                                                University and Jeong Ah Stun
304               E-mail    12/29t07    Susan Carney      H~laine                               Strategy concerning draft public   A/C
                                                          Klasky                                statement concerning Dongguk
                                                                                                University and Jeong Ah Shin
306               E-mail    12/29/07    Helaine           Susan Gamey                           Strategy concerning draft public   A/C
                                        Klasky                                                  statement concerning Dongguk
                                                                                                University and Jeon$ Ah Shin
YALE00006878      E-mail    12/31/07    Jon Butler        Linda Lorimer      Susan Carney       Strategy for communicating         AJC
                                                                             Richard Levin      with Dongguk Universib,
                                                                             Dorothy Robinson
                                                                             Helaine Klasky
                                                                             Donald Filer
                                                                             George Joseph
YALE00006878-79   E-mail    12/31/07    Linda Lorimer .   Susan Carney       Donald Filer       Strategy for communicating         A/C
                                                          Richard Levin      George Joseph      with Dongguk
                                                          Dorothy Robinson                      University
                                                          Helaine Klasky
                                                          Jon Butler
YALE00006879-80   E-mail    12/31/07    Susan Camay       Jon Butler                            Strategy for communicating         AJC
                                                          Richard Levin                         with Dongguk
                                                          Helaine Klasky                        University
                                                          Linda Lorimer
                                                          Dorothy Robinson
YALE00007019      E-mail    12/31/07    Jon Butler        Linda Lorimer      Susan Care),       Strategy for communicating         A/C
                                                                             Richard Levin      with Dongguk
                                                                             Helaine Klasky
                                                                             Donald Flier
                                                                             George Joseph
                                                                             Dorothy Robinson
YALE00007020      E-mail    12/31/07    Linda Lorimer     Susan Camey        Donald Filer       Strategy fo’r communicating        A/C
                                                          Richard Levin      George Joseph      with Dongguk
                                                          Dorothy Robinson                      University
                                                          Helaine Klasky
                                                          Jon Butler




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YALE00007020-21                2/31/07    Susan Carney    Jon Butler                                Strategy for communicating     A/C
                                                          Richard Levin                             with Dongguk
                                                          Helaine Klasky                            University
                                                          Linda Lorimer
                                                          Dorothy Robinson
YALE00007023       E-mail     1213 i107   Jon Butler      Linda Lorimer       Susan Carney          Strategy for communicating     AJC
                                                                              Richard Levin         with Dongguk
                                                                              Helaine Klasky        University
                                                                              Donald Filer
                                                                              George Joseph
                                                                              Doroth), Robinson "
YALEO0007023-2tl   E-mail     12/31/07    Linda Lorimer   Susan Carney        DOnald Filer          Strategy for communicating     A/C
                                                          Richard Levin       George Joseph         with Dongguk
                                                          Dorothy Robinson                          University
                                                          Helaine Kla~ky
                                                          Jon Butler
YALE00007024       E-mail     12/31/07    Susan Carney    Jon Butler                                Strategy for communicating     A/C
                                                          Richard Levin                             with Dongguk
                                                          Helaine Klasky                            University
                                                          Linda Lorimer
                                                          Doro.thy Robinson
YALE00007027       E-mail     ! 2131/07   Jon Butler      Linda Lorimer       Susan Camey           Strategy for communicating     A/C
                                                                              Richard Levin         with Dongguk
                                                                              Helaine Klasky        University
                                                                              Donald Filer
                                                                              George Joseph
                                                                              Dorothy Robinson
YALE00007027-28    E-mail     12/31/07    Linda Lorimer   Susan Carney        Donald Filer          Strategy for communicating     A/C
                                                          Richard Levin       George Joseph         with Dongguk
                                                          Dorothy Robinson                          University
                                                          Helaine Klasky
                                                          Jon Butler
YAEE00007028       E-mail     12/31/07    Susan Carney    Jon Butler                                Strategy for communicating "   AJC
                                                          Richard Levin                             with Dongguk
                                                          Maine Klasky                              University
                                                          Linda Lorimer ’
                                                          Dorothy Robinson
YALE00007031       E-mail     12/31/07    Linda Lorimer   Susan Carney        Donald Filer          Strategy for communicating     A/C
                                                          Richard Levin       George Joseph         with Dongguk
                                                          Dorothy Robinson                          University
                                                          Helaine Klasky
                                                          Jon Butler




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YALE00007031-32     E-mail     12/31/07    Susan Carney    Jon Butler                              Strategy for communicating      A/C
                                                           Richard Levin                           with Dongguk
                                                           Helaine Klasky                          University
                                                           Linda Lorimer
                                                           Doroth~ Robinson
YALE00007204        E-mail     12/31/07    Susan Carney    Richard Levin                           Strategy for communicating      A/C
                                                           Dorothy Robinson                        with Dongguk
                                                           Linda Lorimer                           University
                                                           Helaine Klasky
                                                           Jon Butler
YALE00007207        E-mail     12/31/07    Jon Butler      Linda Lorimer        Susan Carney       Strategy for communicating      A/C
                                                                                Richard Levin      with Dongguk
                                                                                Dorothy Robinson   University
                                                                                Helaine Klasky
                                                                                Donald Filer
                                                                                George Joseph
YALE00007207-08     E-mail     12/31/07    Linda Lorimer   Susan Came),         Donald Filer       Strategy for communicating      A/C
                                                           Richard Levin        George Joseph      with Dongguk
                                                           Dorothy Robinson                        University
                                                           Helaine Klasky
                                                           Jon Butler
YALE04007208-09     E-mail     12/31/07    Susan Carney    Richard Levin                           Strategy for communicating
                                                           Dorothy Robinson                        with Dongguk
                                                           Linda Lorimer                           University
                                                           Helaine Klasky
                                                           Jon Butler
YALE0000721 !- 12   E-mail      2/31/07    Jon Butler      Susan Carney                            Request for legal advice        A/C .
                                                                                                   concerning Dongguk
                                                                                                   ,University and Jeong Ah Shin
YALE00007212        E-mail     12/31/07    Susan Carney    Richard Levin                           Strategy for communicating      A/C "
                                                           Dorothy Robinson                        with Dongguk
                                                           Linda Lorimer                           University
                                                           Helaine Klasky
                                                           Jon Butler
YALE00007306        E-mail     12/3 !/07   Linda Lorimer   Susan Carney         Donald Filer       Strategy for communicating      A/C
                                                           Richard Levin        George Joseph      with Dongguk University
                                                           Dorothy Robinson
                                                           Helaine Klasky
                                                           Jon Butler
YALEO0007306-07     E-mail     12/31/07    Susan Carney    Jon Butler                              Strategy for communicating      AJC
                                                           Richard Levin                           with Dongguk University
                                                           Helaine Klasky
                                                           Linda Lorimer
                                                           Dorothy Robinson ¯



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YALE00007316-175   E-mail     12/31/07    Jon Butler      Linda Lorimer        Susan Carney       Strategy for communicating   A/¢
                                                                               Richard Levin      with Dongguk University ’
                                                                               Helaine Klasky
                                                                               Donald Filer
                                                                               George Joseph
                                                                               Dorothy Robinson
YALE00007317       E-mail     12/31/07    Linda Lorimer   Susan Carney         Donald Filer       Strategy for communicating   A/C
                                                          Richard Levin        George Joseph      with Dongguk University
                                                          Dorothy Robinson
                                                          Helaine Klasky
                                                          Jon Butler
YALEO0007317-18    E-mail     12/31/07    Susan Carney    Jon Butler                              Strategy for communicating   A/C
                                                          Richard Levin                           with Dongguk University
                                                          Helaine Klasky
                                                          Linda Lorimer
                                                          Dorot.h), Robinson
YALE00007750       E-mail     12/31/07    Jon Butler      Linda Lorimer        Susan Carney       Strategy for communicating   AJC
                                                                               Richard Levin      with Dongguk University
                                                                               Helaine Klasky
                                                                               Donald Filer
                                                                               George Joseph
YALE00007750-51    E-mail     12/3 It07   Linda Lorimer   Susan Carney         Donald Filer       Strategy for communicating   A/C
                                                          Richard Levin        George Joseph      with Dongguk University
                                                          Dorothy Robinson
                                                          Helai.n.e Klasky
                                                          Jon Butler
YALE00007751-52    E-mail     12/31!07    Susan Carney    Jon Butler                              Strategy for communicating   A/¢
                                                          Richard Levin                           with Dongguk University
                                                          Helaine Klasky
                                                          Linda Lorimer
                                                          Dorothy Robinson
YALE00007847       E-mail     12/31,/07   Jon Butler      Linda Lorimer        Susan Carney       Strategy for communicating   A/C
                                                                               Richard Levin      with Dongguk University
                                                                               Dorothy Robinson
                                                                               Helaine Klasky
                                                                               Donald Filer
                                                                               George Joseph
YALE00007847       E-mail     12/31/07    Linda Lorimer   Susan Carney         Donald Filer       Strategy for communicating   A/C
                                                          Richard Levin        George Joseph      with Dongguk University
                                                          Dorothy Robinson
                                                          Helaine Klasky
                                                          Jon Butler




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YALE00007847-48   E-mail    12/31/07   Susan Carney    Jon Butler                             Strategy for communicating   AJC
                                                       Richard Levin                          with Dongguk University
                                                       Helaine Klasky
                                                       Linda Lorimer
                                                       Dorothy Robinson
YALE00007850 "    E-mail    12/31/07   Jon Butler      Linda Lorimer       Susan Carney       Strategy for communicating   AJC
                                                                           Richard Levin      with Dongguk University
                                                                           Dorothy Robinson
                                                                           Helaine Klasky
                                                                           Donald Filer
                                                                           George Joseph
YALE00007850      E-mail    12/31/07   Linda Lorimer    Susan Carney       Donald Filer       Strategy for communicating   A/¢
                                                        Richard Levin      George Joseph      with Dongguk University
                                                        Dorothy Robinson
                                                        Helaine Klasky
                                                        Jon Butler
YALE00007851      E-mail    12/31/07   Susan Carney    .Ion Butler                            Strategy for communicating   A/C
                                                        Richard Levin                         with Dongguk University
                                                        Helaine Klasky "
                                                        Linda Lorimer
                                                       ’Dorothy Robinson
YALE00007853      E-mail    12/31/07   Jon Butler       Linda Lorimer      Susan Carney       Strategy fo~ communicating   A/C
                                                                           Richard Levin      with Dongguk University
                                                                           Dorothy Robinson
                                                                           Helaine Klasky
                                                                           Donald Filer
                                                                           George Joseph
YALE00007853-54   E-mail    12/31/07   Linda Lorimer   Susan Carney        Donald Filer       Strategy for communicating   A/C
                                                       Richard Levin       George Joseph      with Dongguk University
                                                       Dorothy Robinson
                                                       Helaine Klasky
                                                       Jon Butler
YALE00007854-55   E-mail    12/31/07   Susan Carney    Jon Butler                             Strategy for communicating   A/C
                                                       Richard Levin                          with Dongguk University
                                                       Helaine Klasky
                                                       Linida Lorimer
                                                       Dorothy Robinson
YALE00007858      E-mail    12/31/07   Jon Butler      Linda Lorimer ¯ -   Susan Camey        Strategy for communicating   A/C
                                                                           Richard Levin      with Dongguk University
                                                                           Dorothy Robinson
                                                                           Helaine Klasky
                                                                           Donald Filer
                                                                           George Joseph




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YALE00007859      E-mail    12/3 I107   Linda Lorimer   Susan Carney       Donald Filer       Strategy for communicating    A/C
                                                        Richard Levin      George Joseph      with Dongguk University
                                                        Dorothy Robinson
                                                        Helaine Klasky
                                                        Jon Butler
YALEO0007859      E-mail    12/31/07    Susan Carney    Jon Butler                            Strategy for communicating    A/C
                                                        Richard Levin                         with Dongguk University
                                                        Helaine Klasky
                                                        Linda Lorimer
                                                        Dorothy Robinson
YALE00007862-63   E-mail    12/31/07    Jon Butler      Linda Lorimer      Susan Carney       Strategy for communicating    A/C
                                                                           Richard Levin      with Dongguk University
                                                                           Dorothy Robinson
                                                                           Helaine Klasky
                                                                           Donald Filer
                                                                           George Joseph
YALE00007863      E-mail     2/31/07    Linda Lorimer   Susan Carney.      Donald Filer       Strategy ’for communicating   A/C
                                                        Richard Levin      George Joseph      with Dongguk University
                                                        Dorothy Robinson
                                                        Helaine Klasky
                                                        Jon Butler
YALE00007863-64   E-mail    12/31/07    Susan Carney    Jon Butler                            Strategy for communicating    A/C.
                                                        Richard Levin                         with Dongguk University
                                                        Helaine Klasky
                                                        Linda Lorimer
                                                        Dorothy Robinson
YALE00007867      E-mail    12/31/07    Jon Butler      Linda Lorimer      Susan Carney       Strategy for communicating    A/C
                                                                           Richard Levin      with Dongguk University
                                                                           Dorothy Robinson
                                                                           Helaine Klasky
                                                                           Donald Filer
                                                                           George Joseph
YALEO0007867-68   E-mail    12/31/07    Linda Lorimer   Susan Camey        Donald Filer       Strategy for communicating    AIC
                                                        Richard Levin      George Joseph      with Dongguk University
                                                        Dorothy Robinson
                                                        Helaine Klasky
                                                        Jon Butler
YALE00007868-69   E-mail    12/31/07    Susan Carney    Jon Butler                            Strategy for communicating    A/C
                                                        Richard Levin                         with Dongguk University
                                                        Helaine Klasky
                                                        Linda Lorimer
                                                        Dorothy Robinson




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YALE00007872      E-mail    12131/07   ]on Butler      Linda Lorime        Susan Carney ¯     Strategy for communicating        A/C
                                                                           Richard Levin      with Dongguk University
                                                                           Dorothy Robinson
                                                                           Helaine Klasky "
                                                                           Donald Filer
                                                                           Georg, e Joseph
YALE00007872-73   E-mail    12131/07   Linda Lorimer   Susan Carney        Donald Filer       Strategy for communicating        A/C
                                                       Richard Levin       George Joseph      with Dongguk University
                                                       Dorothy Robinson
                                                       Helaine Klasky
                                                       Jon Butler
YALE00007873-74   E-mail    12/31/07   Susan Carney    Jon Butler                             Strategy for communicating        A/C
                                                       Richard Levin                          with Dongguk University
                                                       Helaine Klasky
                                                       binda Lorimer
                                                       Dorothy Robinson
YALE00007879      E-mail    12/31/07   Jon Butler      Linda Lorimer       Susan Carney       Strategy for communicating        A/C
                                                                           Richard Levin      with Dongguk University
                                                                           Dorothy Robinson
                                                                           Helaine Klasky
                                                                           Donald Filer
                                                                           George Joseph
YALE00007879-80   E-mail    12/31/07   Linda Lorimer   Susan Carney        Donald Filer       Strategy for communicating        A/C
                                                       RiChard Levin       George Joseph      with Dongguk University
                                                       Dorothy Robinson
                                                       Helaine Klasky
                                                       Jon Butler
YALE00007880-81   E-mail    12/31/07   Susan Carney.   Jon Butler                             Strategy for communicating        A/C
                                                       Richard Levin                          with Dongguk University
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104               E-mail    12/31/07   Susan Carney    Richard Levin                          Swategy for communicating with    A/C. WP
                                                       Dorothy Robinson                       Dongguk University
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113               E-mail    12/31/07   Susan Carney    Richard Levi.n                         Strategy for communicating with   A/C
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                                                       Jon Butler




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      E-mail     12/31/07   Susan Carney   Richard Levin                 Strategy for communicating with   A/C
                                           Dorothy Robinson              Dongguk University
                                           Linda Lorimer
                                           Helaine Klasky
                                           Jon Butler
233   E-mail     12/31/07   Susan Carney   Nina G]ickson                 Legal advice concerning           A/C
                                                                         Dongguk University




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